          Case 1:19-md-02915-AJT-JFA Document 285 Filed 01/22/20 Page 1 of 1 PageID# ----
                                                                                     1800
                                          IN THE UNITED STATES DISTRICT COURT
                                          FOR THE EASTERN DISTRlCT OF VIRGINIA

      APPLICATION TO QUALIFY AS A FOREIGN ATTORNEY UNDER LOCAL CIVIL RULE 83. l(D) AND LOCAL
                                                CRIMINAL RULE 57.4
               In Case Number   1 : 1 9 md2�1 5      , Case Name CapitalOne C onsum er Da ta Security Breac
               Party Represented by Applicant: _P_la_in_ t_lff_s_C_ar _te_r_e_t a_ l _. ____________

To: The Honorable Judges of the United States District Court for the Eastern District of Virginia

                                                           PERSONAL STATEMENT

FULL NAME (no initials, please) _K a_ _t e_M_. B _ a_xt_e _-
                                                           r _Ka_u_ f________________________ _
Bar Identification Number 0392037                            .!.:.:.:�-----
                                                         State MN
Firm Name Lockir dge Grlndal Nauen P.LL    . .P.
Firm Phone # 612-339-6900                           Direct Dial # ..,,6....
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                                                                               59                  7 ______ FAX # 612-339-0981
                                                                                     6-4:x.>O,..,.OlL
                                                                                  .Ll,i.:.
E-Mail Address kmbaxter-kauf@locklaw.com
Office Mailing Address 100 S out h W ashington Ave, Suite 2200,Minneapolis,MN55401

Name(s) of federal court(s) in which I have been admitted District ofMN. Districtof CO. 8th Circuit Courtof Appeals

I certify that the rules of the federal court in the district in which I maintain my office extend a similar pro hac vice admission
privilege to members of the bar of the Eastern District of Virginia.

I have not been reprimanded in any court nor has there been any action in any court pertaining to my conduct or fitness as a
member of the bar.

I hereby certify that, within ninety (90) days b�fore the submission of this application, I have read the Local Rules of this Court
and that my knowledge of the Federal Rules of Civil Procedure, the Federal Rules of Criminal Procedure, and the Federal Rules of
Evidence is current.

                                                                                                               from the admission fee.



I, the undersigned, do certify that I am a member of the bar of this Court, not related to the applicant; that I know the applicant
personally, that the said applicant possesses all of the qualifications required for admission to the bar of this Court; that I have
examined the applicant's personal statement. ! affinn that his/her personal and professional character and standing are good, and
petition the court to admit the applicant pro hac vice.
                                                          Waived pe r ECFNo.3   �
                                                       (Signature)                                             (Date)

                                                                 (TyPed or Printed Name)                      (VA Bar Number)


                                                            .J�
Court Use Only:

Clerk's Fee Paid ___ or Exemption Granted

The motion for admission is GRANTED            tJJll1"'     or DENIED ___

                                                                 ;s(♦
                                      .
                                John F. Anderson ----...:=-=----
                                                 /Sf

                                U111ted States Magistrate Judge                               �m-vu'122. �•
                                                                                              (Date)
                         (Judge's Signature)
